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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                   FOR THE DISTRICT OF ARIZONA
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 9       Arizona Broadcasters Association, et al.,      No. CV-22-01431-PHX-JJT
10                     Plaintiffs,                      ORDER FOR PERMANENT
                                                        INJUNCTION AND DECLARATORY
11       v.                                             JUDGMENT; DEFAULT
                                                        JUDGMENT AS TO COUNTY
12       Kris Mayes, et al.,                            DEFENDANTS
13                     Defendants.
14
15             At issue are Plaintiffs’ Motion for Judgment on the Pleadings against Defendant
16   Kristin K. Mayes, in her official capacity as Attorney General for the State of Arizona
17   (Doc. 54), and Plaintiffs’ Motion for Default Judgment against Defendants Rachel
18   Mitchell, in her official capacity as Maricopa County Attorney, and Paul Penzone, in his
19   official capacity as Maricopa County Sheriff (Doc. 56). Defendants have not challenged
20   this lawsuit on the merits. Defendants Mitchell and Penzone took no position on the merits
21   and default was entered against them. (Doc. 55.) Defendant Mayes and Plaintiffs filed a
22   Stipulation Regarding Entry of Permanent Injunction and Declaratory Judgment (Doc. 66).
23             Pursuant to the Stipulation filed by Plaintiffs and Defendant Mayes and for good
24   cause shown, and for the reasons set forth on the record at the hearing on Plaintiffs’ request
25   for a Preliminary Injunction, which this Court will treat as a trial on the merits under
26   Federal Rule of Civil Procedure 65(a)(2), and for the reasons set forth in Plaintiffs’
27   Complaint, Motion for Preliminary Injunction, and Motion for Default Judgment,1
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      Having defaulted, Defendants Mitchell and Penzone did not join in the Stipulation filed
     by Plaintiffs and Defendant Mayes. The Court finds the Eitel v. McCool factors support the
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 1         IT IS ORDERED as follows:
 2         1.     This Court has jurisdiction over this matter under Article III § 2 of the United
 3                States Constitution and 28 U.S.C. §§ 1331 and 1343.
 4         2.     A.R.S. § 13-3732 is declared unconstitutional as a violation of the First
 5                Amendment to the United States Constitution, as applied to the states through
 6                the Fourteenth Amendment, because:
 7                a.     there is a clearly established right to record law enforcement officers
 8                       engaged in the exercise of their official duties in public places, see
 9                       e.g., Askins v. Dep’t of Homeland Sec., 899 F.3d 1035, 1044 (9th Cir.
10                       2018);
11                b.     the statute imposes a content-based restriction that is subject to strict
12                       scrutiny as it “singles out specific subject matter”—recordings of law
13                       enforcement activities—“for differential treatment,” Reed v. Town of
14                       Gilbert, 576 U.S. 155, 169 (2015); and
15                c.     the statute does not survive strict scrutiny because it is not narrowly
16                       tailored or necessary to prevent interference with police officers given
17                       other Arizona laws in effect.
18         3.     A.R.S. § 13-3732 is declared unconstitutional as a violation of the First
19                Amendment to the United States Constitution, as applied to the states through
20                the Fourteenth Amendment, because:
21                a.     the statute is not a reasonable “time place and manner” restriction, see
22                       Hill v. Colorado, 530 U.S. 703, 713 (2000); and
23                b.     the statute cannot withstand intermediate scrutiny because the law
24                       prohibits or chills a substantial amount of First Amendment protected
25                       activity and is unnecessary to prevent interference with police officers
26                       given other Arizona laws in effect.
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     entry of default judgment against them. 782 F.2d 1470, 1471–72 (9th Cir. 1986).

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 1         4.     Defendants, and any others acting in concert or participation with them who
 2                receive actual notice of this injunction, are permanently enjoined from
 3                enforcing A.R.S. § 13-3732 against any person or entity, or using an alleged
 4                violation of A.R.S. § 13-3732 as an excuse, justification, or reason to punish
 5                or otherwise take or fail to take any action adverse to the interests of any
 6                person or entity.
 7         5.     This Court shall retain jurisdiction over this action for the purposes of
 8                construction, modification, and enforcement of this Order.
 9         IT IS FURTHER ORDERED granting Plaintiffs’ Motion for Default Judgment
10   against Defendants Rachel Mitchell, in her official capacity as Maricopa County Attorney,
11   and Paul Penzone, in his official capacity as Maricopa County Sheriff (Doc. 56).
12         IT IS FURTHER ORDERED granting the Stipulation Regarding Entry of
13   Permanent Injunction and Declaratory Judgment (Doc. 66).
14         IT IS FURTHER ORDERED denying as moot Plaintiffs’ Motion for Judgment
15   on the Pleadings against Defendant Kristin K. Mayes, in her official capacity as Attorney
16   General for the State of Arizona (Doc. 54).
17         IT IS FURTHER ORDERED directing the Clerk to close this matter.
18         Dated this 21st day of July, 2023.
19
20                                         Honorable John J. Tuchi
                                           United States District Judge
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